
32 N.Y.2d 952 (1973)
Carl Campbell, Respondent,
v.
State of New York, Appellant. (Claim No. 48104.)
Court of Appeals of the State of New York.
Argued May 29, 1973.
Decided June 8, 1973.
Louis J. Lefkowitz, Attorney-General (Vernon Stuart and Ruth Kessler Toch of counsel), for appellant.
Herman E. Gottfried and Joseph C. Shapiro for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order affirmed, with costs, in the following memorandum: The record establishes that the claimant was not a trespasser over the lands he traversed and that he had long enjoyed permissible access over such lands to reach the highway, the sole means of getting to and from his property. Since the State's appropriation deprived him of that access, he was entitled to the consequential damages fixed below.
